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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


                                           CIVIL MINUTES – GENERAL

    Case No.     LA CV17-00781 JAK (SSx)                                            Date     June 12, 2018
    Title        Maurice Lallemand v. County of Los Angeles, et al.
	




    Present: The Honorable             JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                      Andrea Keifer                                              Not Reported
                      Deputy Clerk                                        Court Reporter / Recorder
              Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                         Not Present                                               Not Present


    Proceedings:             (IN CHAMBERS) ORDER RE DEFENDANT’S MOTION FOR JUDGMENT
                             ON THE PLEADINGS (DKT. 72); PLAINTIFF’S FED. R. CIV. P. 72
                             OBJECTION AND REQUEST FOR REVIEW OF DISCOVERY ORDER
                             (DKT. 93)


I.          Introduction

Maurice Lallemand (“Plaintiff”) brought this civil rights action on January 31, 2017, advancing claims
based on the alleged conduct of the Los Angeles Sherriff’s Department (“LASD”) and several of its
officers. The Complaint names the following defendants: the County of Los Angeles (the “County”), Jim
McDonnell (“McDonnell”); Ungrey Holifield (“Holifield”); Tawnia Rojas (“Rojas”); Ernesto Valencia
(“Valencia”); Andrew Hagewood (“Hagewood”); Matthew Vander Horck (“Vander Horck”); and Allen
Castellano (“Castellano”) (collectively, “Defendants”). Dkt. 1. The Complaint advances claims against
those Defendants who are natural persons in both their individual and official capacities. Id. ¶¶ 5-11. It
alleges that Plaintiff is employed by the County. Id. ¶ 19.

The Complaint advances a total of 11 causes of action. The first six arise under 42 U.S.C. § 1983: (i)
First Amendment -- Free Speech, against all Defendants; (ii) Fourteenth Amendment -- Due Process,
against all Defendants except McDonnell; (iii) Fourth Amendment -- Unlawful Seizure / Search /
Excessive Force against Holifield, Rojas, Valencia and Hagewood; (iv) Conspiracy to Violate Civil
Rights, against all Defendants; (v) Monell1 liability of the County for Unconstitutional Policy, Custom, or
Procedure; and (vi) Supervisory Liability and Failure to Train against the County, McDonnell and
Castellano. See Compl. ¶¶ 39-74. The Complaint also advances claims seven through eleven under
California law: (vii) Assault, against Holifield, Rojas, Valencia and Hagewood; (viii) Battery, against
Holifield, Rojas, Valencia and Hagewood; (ix) Negligence, against all Defendants; (x) violation of the
Bane Act, Cal. Civ. Code § 52.1, against all Defendants; and (xi) violation of Cal. Penal Code § 148
against Holifield, Rojas, Valencia and Hagewood. See Compl. ¶¶ 75-106.

On October 26, 2017, Plaintiff voluntarily dismissed the following claims: (i) all official capacity claims
against Hagewood, Valencia and Holifield2; (ii) the Bane Act claim against McDonnell and Castellano;

1
     See Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 660 (1978).
2
     Claims against Hagewood, Valencia and Holifield in their individual capacities were not dismissed.
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(iii) the Battery claim against Hagewood, Valencia, and Rojas; and (iv) the Fourteenth Amendment
claim against Castellano and Vander Horck. See Dkt. 66. Subsequently, Plaintiff agreed not to contest
the dismissal of the conspiracy claim as to the County, McDonnell, Castellano and Vander Horck. See
Dkt. 75 at 7. Therefore, the conspiracy claim against those Defendants is DISMISSED. The remaining
causes of action are summarized in the following table:

    Claim Number         Cause of Action / Alleged Violation           Defendants
    1                    Section 1983 -- First Amendment               County, McDonnell, Castellano,
                                                                       Vander Horck, Holifield, Rojas,
                                                                       Valencia, Hagewood
    2                    Section 1983 -- Fourteenth Amendment          County, Holifield, Rojas, Valencia,
                                                                       Hagewood
    3                    Section 1983 -- Fourth Amendment              Holifield, Rojas, Valencia,
                                                                       Hagewood
    4                    Section 1983 -- Conspiracy                    Holifield, Rojas, Valencia,
                                                                       Hagewood
    5                    Section 1983 -- Monell Claim                  County
    6                    Section 1983 -- Supervisory Liability         County, McDonnell, Castellano
    7                    Assault                                       Holifield, Rojas, Valencia,
                                                                       Hagewood
    8                    Battery                                       Holifield
    9                    Negligence                                    County, McDonnell, Castellano,
                                                                       Vander Horck, Holifield, Rojas,
                                                                       Valencia, Hagewood
    10                   Bane Act                                      County, Vander Horck, Holifield,
                                                                       Rojas, Valencia, Hagewood
    11                   Cal. Penal Code § 148                         Holifield, Rojas, Valencia,
                                                                       Hagewood

On November 9, 2017, Defendants filed a Motion for Judgment on the Pleadings (“Motion”) pursuant to
Fed. R. Civ. P. 12(c). Dkt. 72. Defendants seek the dismissal of certain causes of action, as to certain
Defendants, on the following grounds:

            Plaintiff’s official capacity claims against the individual Defendants are duplicative of the claims
             against the County;
            Plaintiff’s First and Fourteenth Amendment Claims (Claims 1 and 2) are duplicative of the
             Fourth Amendment claim (Claim 3);
            Plaintiff’s conspiracy claim (Claim 4) is not adequately alleged;
            Plaintiff’s claims against McDonnell and Castellano are not adequately alleged, and McDonnell
             and Castellano are entitled to qualified immunity;
            Plaintiff’s negligence claim (Claim 9) fails as a matter of law due to the absence of any
             cognizable duty of care;
            Plaintiff’s Bane Act claim (Claim 10) fails as a matter of law because there are no allegations
             that Plaintiff was subject to threats, intimidation or coercion independent of the inherent effect of
             the alleged constitutional violations.
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Dkt. 72 at 2.

Plaintiff filed an opposition to the Motion (“Opposition”). Dkt. 75. Defendants filed a Reply. Dkt. 81.

A hearing on the Motion was held on January 22, 2018, and it was taken under submission. For the
reasons stated in this Order, the Motion is GRANTED IN PART and DENIED IN PART, as summarized
in the following table:

    Claim Number      Cause of Action / Alleged Violation        Ruling
    Several           All claims against individual defendants   GRANTED, with prejudice.
                      in official capacities.
    1                 Section 1983 – First Amendment             DENIED.
    2                 Section 1983 – Fourteenth Amendment        GRANTED, without prejudice.
    4                 Section 1983 – Conspiracy                  GRANTED, with prejudice as to
                                                                 the County, McDonnell,
                                                                 Castellano, and Vander Horck,
                                                                 and without prejudice as to
                                                                 Holifield, Rojas, Valencia, and
                                                                 Hagewood
    6                 Section 1983 – Supervisory Liability       GRANTED, without prejudice.
    9                 Negligence                                 DENIED.
    10                Bane Act                                   GRANTED, without prejudice, as
                                                                 to Vander Horck, and DENIED as
                                                                 to all other Defendants.

On January 26, 2018, Plaintiff filed an Objection and Request for Review pursuant to Fed. R. Civ. P. 72
(Dkt. 93 (the “Discovery Objection”)) as to the January 12, 2018 order issued by Magistrate Judge
Segal resolving certain discovery disputes (“Discovery Order” (Dkt. 88)). Defendants filed an opposition
to the Discovery Objection. Dkt. 98 (“Discovery Objection Opposition”). Upon a determination that the
issues raised by the Discovery Objection could be decided without a hearing, it was taken under
submission. Dkt. 97. For the reasons stated in this Order, the relief requested in the Discovery
Objection is DENIED.

II.         Allegations in the Complaint

            A.    The Parties

Plaintiff is a Senior Investigator for the Los Angeles County Attorney Bureau of Investigation (“BOI”).
Compl. ¶ 19. The Complaint alleges that he is a “peace officer” under the applicable statutory definition.
Id. (citing Cal. Penal Code § 830.1).

McDonnell is, and was at all relevant times, the Sheriff of the LASD. Id. ¶ 5. Castellano is, and was at
all relevant times, a Captain with the LASD. Id. ¶ 6. Vander Horck is, and was at all relevant times, an
officer with the LASD. Id. ¶ 7. It is alleged that McDonnell, Castellano, and Vander Horck each is policy
maker and supervisor within the LASD. Id. ¶¶ 5-7. To facilitate the discussion in this Order, the three of
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them are referred to collectively as the “Supervisory Defendants.”

Rojas, Holifield, Valencia, and Hagewood are Deputy Sheriffs with the LASD. Id. ¶¶ 8-11. Each is
alleged to have been present during the incident that forms the factual bases for Plaintiff’s claims
against them. See id. ¶ 22. To facilitate the discussion in this Order, the three of them are referred to
collectively as the “Scene Defendants.”

            B.     The May 13, 2016 Incident

The Complaint alleges that, on May 13, 2016, Plaintiff was on duty as a Senior Investigator with the
BOI. Id. ¶ 20. At approximately 6:15 a.m., he went to a residence in Bellflower, California, to attempt to
effect personal service of a subpoena on a robbery victim whom he thought resided there. Id. The
Complaint alleges that Plaintiff drove to the location in a law enforcement vehicle that was made
available to him by the County. It is also alleged that when Plaintiff arrived at the location, he used the
radio system in the vehicle to log his location. Id. He then parked the vehicle across the street from the
location. Id.

The Complaint alleges that, at all relevant times during the incident, Plaintiff was wearing an exposed
lanyard around his neck that contained an identification card that included the word “POLICE.” Id. ¶ 21.
It also alleges that he was wearing his police badge next to his weapon on his belt, and that his county-
issued radio was visible and near the outside his left front pocket. Id. The Complaint alleges that the
identification card, the police badge, the weapon and the radio were all in plain view throughout the
relevant time period and events. Id.

While Plaintiff was at the location attempting to serve the subpoena, the Scene Defendants arrived. Id.
¶ 22. As noted, each of the Scene Defendants is an LASD Deputy Sheriff, and each was allegedly
acting in that official capacity at this time. Id. ¶¶ 8-11, 22. After Plaintiff noticed that the Scene
Defendants had arrived, the Complaint alleges that Plaintiff immediately identified himself to them as a
law enforcement officer. Id. ¶ 22. Despite this identification, it is alleged that the Scene Defendants
proceeded to assault, batter, detain and search Plaintiff. Id. Plaintiff alleges that the Scene Defendants
threatened him with physical harm, and caused such harm by pushing him and placing him in
“compliance holds.” Id. ¶ 23. Plaintiff alleges that the Scene Defendants placed him in an LASD patrol
vehicle, in which another individual was present. Id. Plaintiff alleges that this other individual “appeared
to be a drug addict experiencing drug use symptoms.” Id. Plaintiff alleges that he was detained for
longer than the period of time necessary for the Scene Defendants to determine that he did not violate,
nor was he reasonably suspected of violating, any law. Id. It is alleged that in subjecting Plaintiff to this
treatment, the Scene Defendants ignored Plaintiff’s position as a law enforcement officer, and that he
was present at the location in his official capacity. Id. ¶ 25.

The Complaint alleges that, during Plaintiff’s interaction with the Scene Defendants, he made certain
statements to one or more of them. It also alleges that this caused them to retaliate against Plaintiff with
physical contact. Id. ¶ 22. Specifically, the Complaint alleges that Plaintiff made the following
statements and similar ones:

            ‘You see what happens, now they’re all upset.’ ‘I’m a police officer . . . I work for the DA’s office .
            . . I’m here to serve a subpoena.’ ‘Hey, he lives in the third house, he’s all good, he has nothing
                                                                                                       Page 4 of 17
	
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            to do with this.’ ‘If this was Lennox, Lennox would not handle this call in this way.’ ‘You guys are
            inexperienced and incompetent at what the hell you are doing.’ ‘Is the sergeant on his way?’ ‘Oh
            yea, I’m gonna write paper on this.’

Id.

The Complaint alleges that, but for these statements, the Scene Defendants would not have detained
him for as long as they did. Id. ¶ 24.

            C.     Plaintiff’s Attempt to File a Complaint

On July 14, 2016, Plaintiff alleges he went to the LASD Lakewood Station to submit an administrative
personnel complaint against the Scene Defendants with respect to their conduct during the May 13
incident. Id. ¶ 27. Plaintiff alleges that he had prepared a typewritten statement and that he intended to
attach it to a standard LASD complaint form. Id.

Upon arriving at the Lakewood Station, Plaintiff alleges that he informed a desk sergeant of his intent to
file the complaint. Id. ¶ 28. The desk sergeant then informed Vander Horck of Plaintiff’s presence. The
Complaint alleges that Vander Horck then appeared, approached Plaintiff and stated, “I cleared my
calendar for three weeks and now you want to submit your complaint!” Id. It is alleged that Vander
Horck appeared to be upset. Id. Vander Horck and Plaintiff exchanged words, after which Vander Horck
and the desk sergeant left to have a brief discussion outside Plaintiff’s presence. Id. ¶ 29. After some
time passed, the sergeant returned to the desk and refused to accept Plaintiff’s complaint or attached
statement. Id.

The Complaint alleges that Defendants agreed, conspired and took collective actions designed and
intended to dissuade and mislead him, and thereby deny him the opportunity to file the LASD
complaint. It is alleged that they did so as part of a cover up of the conduct of the Scene Defendants
during the May 13 incident. Id. ¶ 33. It also alleges that Defendants engaged in this conduct in an
attempt to limit the harm that would arise from the May 13 incident by preventing its public disclosure.
The potential harm included financial liability and negative public perception about the LASD. Id. ¶ 35.

The Complaint alleges that the underlying incidents were the result of the failure of the LASD to
supervise, train and discipline its personnel. It also alleges that “such failure is in the face of an obvious
likelihood that individuals’ constitutional rights have been, and are likely to be, violated without
appropriate supervision, training, and discipline.” Id. ¶ 36.

III.        Analysis

            A.     Motion for Judgment on the Pleadings

                   1.      Legal Standards

                           a)      Fed. R. Civ. P. 12(c)

Fed. R. Civ. P. 12(c) provides that, “[a]fter the pleadings are closed—but early enough not to delay
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trial—a party may move for judgment on the pleadings.” A motion for judgment on the pleadings under
Rule 12(c) parallels one brought under Rule 12(b)(6). Thus, it challenges the legal sufficiency of the
pleadings. See Chavez v. United States, 683 F.3d 1102, 1108 (9th Cir. 2012). “A judgment on the
pleadings is properly granted when, taking all the allegations in the non-moving party’s pleadings as
true, the moving party is entitled to judgment as a matter of law.” Fajardo v. County of Los Angeles, 179
F.3d 698, 699 (9th Cir. 1999). The alleged facts are viewed in the light most favorable to the non-
moving party and all reasonable inferences are drawn in favor of that party. See Living Designs, Inc. v.
E.I. DuPont de Nemours & Co., 431 F.3d 353, 360 (9th Cir. 2005). When considering a motion for
judgment on the pleadings, a court may consider facts that “are contained in materials of which the
court may take judicial notice.” Heliotrope Gen., Inc. v. Ford Motor Co., 189 F.3d 971, 981 n.18 (9th Cir.
1999).

                        b)      Section 1983

Section 1983 provides a cause of action against those who, under color of law, violate the federal
constitutional or statutory rights of any person. Section 1983 is not a “source of substantive rights,” but
instead provides “a method for vindicating federal rights elsewhere conferred.” Graham v. Connor, 490
U.S. 386, 393-94 (1989) (quoting Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979)). A valid claim under
§ 1983 requires that each of the following be established: “(1) a violation of rights protected by the
Constitution or created by federal statute, (2) proximately caused (3) by conduct of a ‘person’ (4) acting
under color of state law.” Crumpton v. Gates, 947 F.2d 1418, 1420 (9th Cir. 1991).

                2.      Application

The Motion challenges the following: (i) all claims against any individual Defendant in his official
capacity; (ii) the Section 1983 claims based on violations of Plaintiff’s First and Fourteenth Amendment
rights; (iii) the Section 1983 claim based on the alleged conspiracy to violate Plaintiff’s civil rights; (iv) all
claims advanced against McDonnell and Castellano; (v) the negligence claim; and (vi) the Bane Act
claim. See Dkt. 72.

                        a)      Claims Against Individual Defendants in Their Official Capacity

As noted, McDonnell, Castellano, Vander Horck, Rojas, Holifield, Valencia, and Hagewood have been
named both in their individual and official capacities. See Compl. ¶¶ 5-11. Defendants argue that the
official-capacity claims are duplicative of the claims asserted against the County. Motion, Dkt. 72 at 12-
13.

An action against a municipal officer in an official capacity is equivalent to an action against the local
government entity. See Kentucky v. Graham, 473 U.S. 159, 165-66 (1985) (“Official-capacity suits. . .
‘generally represent only another way of pleading an action against an entity of which an officer is an
agent.’) (quoting Monell, 436 U.S. at 690 n.55); Larez v. City of Los Angeles, 946 F.2d 630, 646 (9th
Cir. 1991) (“A suit against a governmental officer in his official capacity is equivalent to a suit against
the government entity itself.”).

Since Monell, courts have found official-capacity claims against individual defendants to be duplicative
of Monell claims against the entity. See, e.g., Ctr. for Bio-Ethical Reform, Inc. v. Los Angeles Cty.
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Sheriff Dept., 533 F.3d 780, 799 (9th Cir. 2008) (“When both a municipal officer and a local government
entity are named, and the officer is named only in an official capacity, the court may dismiss the officer
as a redundant defendant.”); Luke v. Abbott, 954 F. Supp. 202, 203 (C.D. Cal. 1997).

Plaintiff has alleged a Monell claim against the County. See Compl. ¶¶ 61-67. Unlike in Bio-Ethical
Reform, the individual Defendants are not named “only in an official capacity.” 533 F.3d at 799. The
Complaint advances individual claims against each of them as well. However, this does not change the
outcome as to whether the official-capacity claims against the individual Defendants duplicate the
Monell claim against the County. See Graham, 473 U.S. at 167 n.14 (“There is no longer a need to
bring official-capacity actions against local government officials, for under Monell . . . local government
units can be sued directly for damages and injunctive or declaratory relief.”); Luke, 954 F. Supp. at 204
(“After the Monell holding, it is no longer necessary or proper to name as a defendant a particular local
government officer acting in an official capacity.”).

For the foregoing reasons, the Motion is GRANTED as to the claims against the individual Defendants
in their official capacities. This conclusion does not affect either the viability of the Monell claims or the
claims against these Defendants in their individual capacities.

                       b)      First and Fourteenth Amendment Claims

Defendants argue that the claims under the First and Fourteenth Amendment fail under Albright v.
Oliver, 510 U.S. 266 (1994). Albright held that “[w]here a particular Amendment provides an explicit
textual source of constitutional protection against a particular sort of government behavior, that
Amendment, not the more generalized notion of substantive due process, must be the guide for
analyzing these claims.” Id. at 273 (internal quotation marks omitted). Plaintiff responds that the
Complaint includes allegations sufficient to establish claims for relief under both the First and
Fourteenth Amendments, and that these claims are not barred because a Fourth Amendment claim is
also alleged.

Albright concluded that the arrest of a person without probable cause did not constitute a violation of
that person’s substantive due process rights under the Fourteenth Amendment. Instead, the potential
violation was of the Fourth Amendment rights of that person. See id. at 273-75 (because the Fourth
Amendment specifically addressed matters of pretrial deprivations of liberty, substantive due process,
with its “scarce and open-ended guideposts, can afford [] no relief” to the person arrested) (citing
Collins v. Harker Heights, 503 U.S. 115, 125 (1992)). The decision was premised on a reluctance to
“expand the concept of substantive due process,” Collins, 503 U.S. at 125, preferring instead to apply
the “specific guarantees of the various provisions of the Bill of Rights.” Albright, 510 U.S. at 273.

County of Sacramento v. Lewis, 523 U.S. 833 (1998), qualified Albright. Lewis interpreted Albright as a
decision that did not require that all claims involving allegations of physical abuse by government
personnel be analyzed under the Fourth Amendment. 523 U.S. at 843. Under Albright and Lewis,
Plaintiff’s First and Fourteenth Amendment claims are only barred if their factual predicate is the same
as the basis for his Fourth Amendment claim. See, e.g., Tarabochia v. Adkins, 766 F.3d 1115, 1129
(9th Cir. 2014) (“The Fourth Amendment explicitly protects against unreasonable ‘searches and
seizures’ whereas the Fourteenth Amendment due process clause protects against official behavior
that ‘shocks the conscience.’” (citing Fontana v. Haskin, 262 F.3d 871, 881 (9th Cir. 2001)).
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The Complaint alleges two distinct incidents as the bases for Plaintiff’s claims. These are the May 13,
2016 incident in Bellflower, and the July 14, 2016 incident at the LASD station. The allegations with
respect to the May 13 incident are sufficient to state a claim under the Fourth Amendment. Thus, they
assert a “governmental termination of [Plaintiff’s] freedom of movement through means intentionally
applied.” Brower v. County of Inyo, 489 U.S. 593, 597 (1989). The Complaint alleges that the “unlawful
seizure, search and prolonged detention of Plaintiff by defendants at the scene . . . were without lawful
basis, reasonable suspicion, probable cause, or warrant,” and also reflected the use of excessive force.
See Compl. ¶¶ 50-52. This claim is recognized and to be pursued under the Fourth Amendment based
on Albright and Graham. See Graham, 490 U.S. at 395 (“[A]ll claims that law enforcement officers have
used excessive force—deadly or not—in the course of an arrest, investigatory stop, or other ‘seizure’ of
a free citizen should be analyzed under the Fourth Amendment and its ‘reasonableness’ standard,
rather than under a ‘substantive due process’ approach”) (emphasis in original).To the extent Plaintiff’s
Fourteenth Amendment claims are based on the May 13 incident, they are “subsumed by, and
coextensive with” the Fourth Amendment claim. Orin v. Barclay, 272 F.3d 1207, 1213 n.3 (9th Cir.
2001). Because the Fourteenth Amendment claim is alleged as to the Scene Defendants (and the
County) only, and because the allegations as to those Defendants only concern the May 13 incident,
the Fourteenth Amendment claims fail as duplicative of the Fourth Amendment claim.

In contrast, the First Amendment is an example of the “specific guarantees” of the Bill of Rights, that
Albright, Graham, and Collins determined superseded the “scarce and open-ended guideposts” of
substantive due process. See Albright, 510 U.S. at 273-75. As long as the allegations present a basis
for recovery under the First Amendment that is separate from that advanced under the Fourth
Amendment, Albright does not bar such a claim.

Courts have recognized that police action, including an arrest, search, or seizure, can chill the exercise
of a person’s First Amendment rights. See Ford v. Yakima, 706 F.3d 1188, 1192 (9th Cir. 2013) (“the
First Amendment protects a significant amount of verbal criticism and challenge directed at police
officers.”) (quoting City of Houston v. Hill, 482 U.S. 451, 461 (1987)). The Complaint alleges that the
conduct of the Scene Defendants on May 13 was prolonged and in retaliation for the statements he
made to the defendant officers. See Compl. ¶¶ 22-24. It also alleges that Vander Horck refused to
accept Plaintiff’s complaint form on July 14, 2016, which also violated his First Amendment rights.
These factual bases for the First Amendment claim do not entirely overlap with those advanced in
support of the Fourth Amendment claim that is based on the conduct of the Scene Defendants. Thus, it
is alleged that the Defendants’ treatment of Plaintiff was prolonged due to his speech, and Vander
Horck retaliated against Plaintiff by refusing to receive his formal complaint. For these reasons, the First
and Fourth Amendment claims is each distinct.

For these reasons, the Motion is GRANTED as to the Fourteenth Amendment claims, and DENIED as
to the First Amendment claims.

                       c)      Conspiracy Claim

“To state a claim for a conspiracy to violate one’s constitutional rights under [S]ection 1983, the plaintiff
must state specific facts to support the existence of the claimed conspiracy.” Burns v. County of King,
883 F.2d 819, 821 (9th Cir. 1989). Specifically, Plaintiff must “show an agreement or meeting of the
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minds to violate constitutional rights.” United Steelworkers of Am. v. Phelps Dodge Corp., 865 F.2d
1539, 1540-41 (9th Cir. 1989).

Plaintiff does not dispute that he has not advanced any allegations that directly support the existence of
an agreement necessary to state a civil conspiracy claim. However, he contends that the Complaint
adequately alleges a conspiracy because one may be inferred from conduct, commonality of action,
and other circumstantial evidence. See Gilbrook v. City of Westminster, 177 F.3d 839, 856-57 (9th Cir.
1999) (“[a] defendant’s knowledge of and participation in a conspiracy may be inferred from
circumstantial evidence and from evidence of the defendant’s actions.”) (citing United States v.
Calabrese, 825 F.2d 1342, 1348 (9th Cir. 1987)).

As noted, Plaintiff has conceded that the County, McDonnell, Castellano, and Vander Horck should not
have been named as defendants in the conspiracy claim. Dkt. 75 at 7. Plaintiff only advances the
conspiracy claim against the Scene Defendants in connection with their conduct during the May 13
incident. Plaintiff argues that, because the Scene Defendants acted in concert, it is reasonable to infer
that they agreed to do so. Dkt. 75 at 7. This theory does not excuse the requirement that Plaintiff plead
the claim with sufficient specificity. See Woodrum v. Woodward County, Okla., 866 F.2d 1121, 1126
(9th Cir. 1989). Although “[a] meeting of the minds can be inferred from circumstantial evidence,” such
evidence must be “sufficient for a reasonable factfinder to conclude it was unlikely to have been
undertaken without an agreement of some kind between the defendants.” Crowe v. County of San
Diego, 608 F.3d 406, 440 (9th Cir. 2010) (internal quotation marks omitted); see also Gilbrook, 177
F.3d at 856 (“A civil conspiracy is a combination of two or more persons who, by some concerted
action, intend to accomplish some unlawful objective for the purpose of harming another . . . .”). The
Complaint does not meet these standards. It does not sufficiently allege that the Scene Defendants
agreed to engage in any conduct, or that they did so to impede Plaintiff’s civil rights.

For the foregoing reasons,, the Motion is GRANTED as to the conspiracy claims. Dismissal as to the
County, McDonnell, Castellano, and Vander Horck is with prejudice. Dismissal of the conspiracy claim
as to the Scene Defendants is without prejudice.

                       d)      Claims Against McDonnell and Castellano

Defendants move to dismiss all claims against McDonnell and Castellano because the Complaint does
not allege that either was personally involved with any of the alleged violations of Plaintiff’s rights.
Defendants also argue that McDonnell and Castellano each has qualified immunity as to all of the
claims brought against him. Plaintiff responds that claims may be brought under Section 1983 against
supervisors for their deliberate indifference toward conduct by subordinates.

Section 1983 does not give rise to respondeat superior or vicarious liability. See City of Canton, Ohio v.
Harris, 489 U.S. 378, 385 (1989). Therefore, “a plaintiff must plead that each Government-official
defendant, through the official’s own individual actions, has violated the Constitution.” Ashcroft v. Iqbal,
556 U.S. 662, 676 (2009). “Supervisory liability is imposed against a supervisory official in his individual
capacity for his own culpable action or inaction in the training, supervision, or control of his
subordinates, for his acquiescence in the constitutional deprivations of which the complaint is made, or
for conduct that showed a reckless or callous indifference to the rights of others.” Menotti v. City of
Seattle, 409 F.3d 1113, 1149 (9th Cir. 2005). If an officer’s individual conduct did not allegedly violate a
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protected right, supervisory liability does not apply. See, e.g., Hydrick v. Hunter, 669 F.3d 937, 942 (9th
Cir. 2012).

The Complaint does not present any allegations as to specific actions taken by either McDonnell or
Castellano. It alleges that they “acted intentionally, maliciously, in conscious disregard, and/or with
deliberate indifference to the rights of [Plaintiff] . . . [and that they] acted in this manner, at least in part,
to avoid liability and financial exposure for the LASD and to maintain their reputation and the reputation
of the LASD.” Compl. ¶ 72. These conclusory allegations as to the motivation of McDonnell and
Castellano are not sufficient to state a claim based on any individual conduct by either of them. Such
individual conduct is required to support a claim that either exhibited “deliberate indifference based on
the supervisor’s knowledge of and acquiescence in [the] unconstitutional conduct of [the Scene
Defendants, or Vander Horck].” Starr v. Baca, 652 F.3d 1202, 1207 (9th Cir. 2011).

Nor does the Complaint sufficiently allege that McDonnell or Castellano knew or should have known
that the Scene Defendants would, or did, engage in improper conduct during the May 13 incident, or
that Vander Horck would act as he allegedly did on July 14. Based on the present allegations, it cannot
reasonably be inferred that the Supervisory Defendants “acquiesce[d]” or exhibited “reckless or callous
indifference” with respect to conduct they did not know was going to, or did already, occur. Menotti, 409
F.3d at 1149.

For the foregoing reasons, the Motion is GRANTED, without prejudice, as to the claims asserted
against McDonnell and Castellano.

                        e)      Negligence Claim

Defendants move to dismiss Plaintiff’s negligence claim arguing that the Complaint does not identify a
statutory basis that permits the claim. Plaintiff responds that public employees are liable for negligence
to the same extent as private individuals, that California does not immunize the conduct of police
officers incident to a false arrest, and public entities can be vicariously liable under respondeat superior
for the negligence of their employees while acting within the scope of their employment.

Cal. Civ. Code § 1714 concerns claims of negligence. It provides that “[e]veryone is responsible, not
only for the result of his or her willful acts, but also for an injury occasioned to another by his or her
want of ordinary care or skill in the management of his or her property or person . . . .” Cal. Civ. Code §
1714; see also Santos ex rel. Santos v. City of Culver City, 228 Fed. Appx. 655, 658 (9th Cir. 2007)
(“California Civil Code § 1714 [] codifies the common law duty to act with reasonable care.”). Cal. Gov.
Code § 820 provides that public employees may be subject to liability for negligence: “Except as
otherwise provided by statute (including Section 820.2), a public employee is liable for injury caused by
his act or omission to the same extent as a private person.” Cal. Gov. Code § 820. Cal. Gov. Code §
815.2 provides that a “public entity is liable for injury proximately caused by an act or omission of an
employee of the public entity within the scope of his employment if the act or omission would, apart
from this section, have given rise to a cause of action against that employee or his personal
representative.” Cal Gov. Code § 815.2.

Sections 1714, 820, and 815.2 collectively provide a basis for negligence liability against public
employees, and vicarious liability for public entities for negligent acts by their employees that occur
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within the scope of their employment. See, e.g., Hayes v. County of San Diego, 57 Cal. 4th 622, 628-29
(2013); Hoff v. Vacaville Unified Sch. Dist., 19 Cal. 4th 925, 932 (1988). Therefore, Defendants’
argument that Plaintiff’s negligence theory “cannot simply rely on Cal. Civil Code § 1714” (Dkt. 72 at 23)
is unconvincing. Plaintiff’s negligence claim does not depend on Section 1714 for a duty of care; that
statute codifies common law principles of duty that apply in general to negligence claims.

Defendants’ reliance on Eastburn v. Reg. Fire Protection Auth., 31 Cal. 4th 1175 (2003), does not
change the outcome. Eastburn clarified that “direct tort liability of public entities must be based on a
specific statute declaring them to be liable, or at least creating some specific duty of care, and not on
the general tort provisions of Civil Code section 1714.” Id. at 1183. However, this does not affect
whether there can be vicarious liability based on the acts of public employees. Indeed, Eastburn
recognized the existence of such vicarious liability under Section 815.2. See id. at 1184; see also Hoff,
19 Cal. 4th at 932 (providing that public entities may be held liable for torts under a respondeat superior
theory).

For the foregoing reasons, the Motion is DENIED as to the negligence claims against the County,
Vander Horck, Holifield, Rojas, Valencia and Hagewood.

                       f)      Bane Act Claim

Defendants challenge the Bane Act arguing that a “wrongful arrest or detention, without more, does not
satisfy both elements of section 52.1.” Dkt. 72 at 18 (citing Allen v. City of Sacramento, 234 Cal. App.
4th 41, 69 (2015)). Thus, they contend that the Bane Act claim fails because the Complaint does not
allege “threats or coercion beyond the coercion inherent in a detention or search.” Lyall v. City of Los
Angeles, 807 F.3d 1178, 1196 (9th Cir. 2015). Plaintiff responds that the Bane Act claim is sufficiently
pleaded because he has alleged coercion greater than that inherent in his detention. Dkt. 75 at 9-11.

The Bane Act provides a private right of action against individuals who violate or interfere with a
person’s constitutional or statutory rights “by threat, intimidation, or coercion.” Cal. Civ. Code § 52.1.
The Act was adopted to address hate crimes. See Bender v. Cty. of Los Angeles, 217 Cal. App. 4th
968, 977 (2013). However, it has a broader reach, and to state a claim, a plaintiff is not required to
show “that [a public entity] or its officers had a discriminatory purpose.” Venegas v. Cty. of Los Angeles,
32 Cal. 4th 820, 843 (2004).

Shoyoye v. Cty. of Los Angeles, 203 Cal. App. 4th 947 (2012) addressed Bane Act claims in the
context of an arrest. There, the plaintiff was wrongfully detained in county jail. His initial detention was
justified, but was then improperly extended for approximately 16 days due to an inadvertent, clerical
error. In considering whether these facts were sufficient to state a claim under the Bane Act, Shoyoye
explained that the “statutory framework of [the Bane Act] indicates that the Legislature meant the
statute to address interference with constitutional rights involving more egregious conduct than mere
negligence.” Id. at 958. Thus, “where coercion is inherent in the constitutional violation alleged, i.e., an
overdetention in County jail, the statutory requirement of ‘threats, intimidation, or coercion’ is not met.
The statute requires a showing of coercion independent from the coercion inherent in the wrongful
detention itself.” Id. at 959.

In connection with a Bane Act claim that arises from an alleged improper search-and-seizure, Shoyoye
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has been interpreted to require independent coercion or intimidation. See Lyall, 807 F.3d at 1196
(“[n]umerous California decisions make clear that a plaintiff in a search-and-seizure case must allege
threats or coercion beyond the coercion inherent in a detention or search in order to recover under the
Bane Act”); Allen, 234 Cal. App. 4th at 69 (“[A] wrongful arrest or detention, without more, does not
satisfy both elements of section 52.1.”); Quezada v. City of Los Angeles, 222 Cal. App. 4th 993, 1007-
1008 (2014).

The issues were addressed anew in Cornell v. City and Cty. of San Francisco, 17 Cal. App. 5th 766,
225 Cal. Rptr.3d 356, 359 (2017). There, an off-duty police officer was pursued, searched, and arrested
at gunpoint by law enforcement officers who suspected him of being involved in illegal activity related to
the sale or distribution of drugs. The off-duty officer then brought civil claims, including one under the
Bane Act, against the arresting officers, the Chief of the San Francisco Police Department, and the City
and County of San Francisco. Id. at 363. Plaintiff prevailed on this claim after a jury trial. The
defendants appealed, arguing, among other things, that there was insufficient evidence to support the
verdict in favor of plaintiff on the Bane Act claim. Id. at 359-60.

The Court of Appeal affirmed. Id. at 360. It rejected the view that, to plead a Bane Act claim in the
context of an alleged improper search and seizure, there is a per se requirement that the plaintiff allege
coercion or threats independent of those that state the acts that constituted the alleged violation of the
rights of the plaintiff:

            We acknowledge that some courts have read Shoyoye as having announced
            “independen[ce] from inherent coercion” as a requisite element of all Section 52.1 claims
            alleging search-and-seizure violations, but we think those courts misread the statute as
            well as the import of Venegas. By its plain terms, Section 52.1 proscribes any
            “interference with” or attempted “interference with” protected rights carried out “by threat,
            intimidation or coercion.” Nothing in the text of the statute requires that the offending
            “threat, intimidation or coercion” be “independent” from the constitutional violation
            alleged. Indeed, if the words of the statute are given their plain meaning, the required
            “threat, intimidation or coercion” can never be “independent” from the underlying
            violation or attempted violation of rights, because this element of fear-inducing conduct
            is simply the means of accomplishing the offending deed (the “interference” or
            “attempted interference”). That is clear from the structure of the statute, which reads, “If
            a person or persons, whether or not acting under color of law, interferes by threat,
            intimidation, or coercion,” a private action for redress is available.


Id. at 382-83 (internal citations omitted) (emphasis in original).3

3
  Cornell also addressed the statement in Lyall that “[n]umerous California decisions make clear that a plaintiff in
a search-and-seizure case must allege threats or coercion beyond the coercion inherent in a detention or search
in order to recover under the Bane Act,” Lyall, 807 F.3d at 1196:

            “It strikes us as an overstatement to say there are ‘numerous California decisions’ for this
            proposition or that our case law is ‘clear’ on this point. Allen, a pleading case, and the sole
            published California appellate opinion to consider Shoyoye in any depth, ultimately holds only that
            ‘conclusory allegations of ‘forcible’ and ‘coercive’ interference with plaintiffs’ constitutional rights
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Cornell then addressed the application of the Bane Act to claims brought under Section 1983 against
law enforcement officers:

            In federal court, where Section 52.1 claims are frequently brought along with Section
            1983 claims under federal pendant jurisdiction, “[t]he Bane Act’s requirement that
            interference with rights must be accomplished by threats [,] intimidation or coercion ‘has
            been the source of much debate and confusion.’”

            ...

            Accordingly, we hold that, where, as here, an unlawful arrest is properly pleaded and
            proved, the egregiousness required by Section 52.1 is tested by whether the
            circumstances indicated the arresting officer had a specific intent to violate the arrestee’s
            right to freedom from unreasonable seizure, not by whether the evidence shows
            something beyond the coercion “inherent” in the wrongful detention.

Id. at 383-84 (internal citations omitted).

Under Cornell, the Complaint adequately alleges that Plaintiff was falsely arrested and subjected to
excessive force, and that this resulted in violations of both Section 1983 and the Bane Act. Thus, it
sufficiently states and implies that there was inherent coerciveness in the alleged treatment of Plaintiff
when he was arrested and detained by the Scene Defendants to state both claims. See id. at 383-84. It
also alleges that the Scene Defendants had the specific intent to violate his rights. See, e.g., Compl. ¶¶
25, 34-35.

Even if Shoyoye were interpreted more narrowly, the Complaint here would still be sufficient to state a
Bane Act claim. Shoyoye addressed whether allegations of wrongful detention alone are sufficient to
state a Bane Act claim. See Villareal v. City of Indio, No. 16-cv-00141-JAK, 2016 WL 6678010, at *9
(C.D. Cal. June 20, 2016). The Complaint here alleges “something more.” The Complaint alleges that
there was excessive force and a wrongful arrest, and then adds that the Scene Defendants prolonged
Plaintiff’s detention to retaliate for the comments he made to them. See Compl. ¶ 24.

The outcome is different with respect to the Bane Act claims against Vander Horck. The Complaint
does not sufficiently allege that he threatened, intimidated, or coerced Plaintiff. The Complaint alleges
that Vander Horck directed a sergeant to refuse to accept the complaint that Plaintiff wanted to submit
about the conduct of the Scene Defendants during May 13 incident. See id. ¶ 29. Although these
allegations may be sufficient to state a claim for the violation of speech protected by the First
Amendment, they are not sufficient to show any threat or intimidation. See, e.g., Austin B. v. Escondido
Union Sch. Dist., 149 Cal. App. 4th 860, 883 (2007) (“The essence of a Bane Act claim is that the

            are inadequate to state a cause of action for a violation of section 52.1.’ Quezada refers briefly to
            Shoyoye’s independent from inherent coercion test in a background summary of Section 52.1
            law, but never applies it, relying instead on the fact that no coercion at all was present in the
            case.”

Cornell, 225 Cal. Rptr. 3d at 383 n.28.
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defendant, by the specified improper means (i.e. ‘threats, intimidation or coercion’) tried to or did
prevent the plaintiff from doing something he or she had the right to do under the law or to force the
plaintiff to do something that he or she was not required to do under the law.”).

For the foregoing reasons, the Motion is DENIED as to the Bane Act claims against the Scene
Defendants. The Motion is GRANTED, without prejudice, as to the Bane Act claims against Vander
Horck.

            B.    Discovery Objection Pursuant to Fed. R. Civ. P. 72

                  1.     The Discovery Order

The Discovery Objection seeks review of the January 12, 2018 Discovery Order that granted in part
and denied in part Plaintiff’s motion to compel further responses by the County to Plaintiff’s requests for
production of documents (“RFP”). See Dkt. 88 (Discovery Order). The focus is on the determination
with respect to the following document requests, which Plaintiff claims are relevant to the Monell claims
and the financial condition of certain Defendants:

RFP No. 11: For the past ten years, every WRITING maintained, received, or generated by YOU, or
available to YOU, which mentions, or is in any way related to, discipline, sanctions, investigations,
review, personnel complaints, claims for damages, grievances, or disciplinary action that against,
and/or involving YOUR employees, officials, and/or agents that relate in any way to excessive force,
arrests and/or detentions for First Amendment (US Constitution) activity, false arrests, false reporting
and/or moral turpitude offences.

RFP No. 13: For the past ten years, every WRITING maintained, received, or generated by YOU, or
available to YOU, which constitutes, mentions, or is in any way related to any lists and/or compilations
of deputies and/or other Los Angeles Sheriff’s Department personnel (to wit approximately 300) sent
and/or attempted to be communicated from Defendant McConnell [sic] to Los Angeles County District
Attorney Jackie Lacey.

RFP No. 15: For the past ten years, every WRITING maintained, received, or generated by YOU, or
available to YOU, which mentions, constitutes, or in any way related to, training, guidelines, protocols,
policies, and/or procedures that in any way relate or are applicable to (i) the MAY INCIDENT; (ii) the
JULY INCIDENT; (iii) identification of law enforcement officers in the field; (iv) detention and arrest of
PERSONS during a pedestrian encounter; (v) detention and arrest of PERSONS known to be law
enforcement officers; (vi) report writing; (vii) truthfulness; (viii) the public trust; (ix) audio and video
recording of encounters and contacts with persons in the field; and (x) First Amendment (U.S.
Constitution) activity.

RFP No. 23: Every WRITING maintained, received, or generated by YOU or available to YOU, which
mentions, constitutes, concerns, or is related to the financial condition of any of the individual
defendants in this case.

The Discovery Order concluded that RFPs 11, 13, and 15, are “patently overbroad and disproportionate
to the needs of this case,” based on the finding that they did not “give reasonable notice of what is
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called for and what is not.” Dkt. 88 at 26. The Discovery Order reached a similar determination with
respect to RFP 23, which it deemed “patently overbroad and disproportionate to the needs of this
case.” Id. at 30. The Order added that information about the financial condition of any of the individual
Defendants could be more efficiently obtained by deposing each of them. Id. at 30-31. It also decided
that, based on a review of the video of the May 13, 2016 Incident, the likelihood of finding a basis for an
award of punitive damages against the individual Defendants appeared to be low, and that, in light of
this, their privacy interests in their financial information outweighed Plaintiff’s need for the discovery at
this time. Id. at 31.

Plaintiff argues these determinations were in error. He contends that RFPs 11, 13, and 15 are not
overbroad because they seek documentary evidence necessary for the Monell claim against the
County, and the requested categories of documents are described with reasonable particularity. See
Dkt. 93 at 8. In support of this position, Plaintiff argues that RFP 11 seeks documents related to the
discipline of officers, which is relevant to establishing knowledge of civil rights violations. Id. Plaintiff
contends that RFP 13 seeks documents relating to “the now infamous list of 300 (aka ‘Brady List’) of
defendant’s officers who have committed civil rights violations compiled by Defendant McDonnell, all of
whom defendant County’s chief prosecutor reportedly refuses to prosecute – and most of whom
defendant McDonnell has not terminated, effectively disciplined or arrested.” Id. at 8-9. Finally, Plaintiff
argues that RFP 15 seeks evidence of certain LASD policies that are needed so that an expert can
assess whether they are sufficient to ensure the protection of the constitutional rights of those detained
and arrested by LASD deputies. Id. at 9.

Defendants argue that there was no error in the Discovery Order as to the determination that RFPs 11,
13, and 15 are overbroad. Thus, they content that these requests seek documents generated during a
10-year period, on a wide range of topics. See Dkt. 98 at 3. With respect to RFP 23, Defendants
contend that a request for punitive damages does not per se entitle a plaintiff to financial records of law
enforcement personnel. Id. at 5. Defendants argue that, discovery on punitive damages is generally not
necessary until a finding of potential liability is made by the fact-finder. Id.

                2.     Legal Standards

Pretrial discovery matters are non-dispositive. Therefore, a magistrate judge has the authority to
resolve a discovery dispute. See Grimes v. City and County of S.F., 951 F.2d 236, 240 (9th Cir. 1991)).
Fed. R. Civ. P. 72(a) sets forth the standards for a review of a non-dispositive ruling by a magistrate
judge. It provides that “[t]he district judges in the case must consider timely objections and modify or set
aside any part of the order that is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a); accord
28 U.S.C. § 636(b)(1)(A). A district court has “the power to ‘affirm, modify, vacate, set aside or reverse’
the magistrate judge’s order and ‘may remand the cause and direct the entry of such appropriate
judgment, decree or order or require such further proceedings . . . as may be just under the
circumstances.’” Crispin v. Christian Audigier, Inc., 717 F. Supp. 2d 965, 971 (C.D. Cal. 2010) (quoting
28 U.S.C. § 2106).

When considering findings of fact, the district court applies the “clearly erroneous” standard, which is
“significantly deferential, requiring a definite and firm conviction that a mistake has been committed.”
Concrete Pipe & Prods. Of Cal., Inc. v. Constr. Laborers Pens. Tr. for S. Cal., 508 U.S. 602, 623 (1993)
(internal quotation marks omitted). Legal conclusions are reviewed de novo. See Adolph Coors Co. v.
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Wallace, 570 F. Supp. 202, 205 (N.D. Cal. 1983); Crispin, 717 F. Supp. 2d at 971.

Where the decision concerns a question of relevance, “the [district court] must review the magistrate’s
order with an eye toward the broad standard of relevance in the discovery context. Thus, the standard
of review in most instances is not the explicit statutory standard, but the clearly implicit standard of
abuse of discretion.” Geophysical Sys. Corp. v. Raytheon Co., 117 F.R.D. 646, 647 (C.D. Cal. 1987). A
magistrate judge abuses this discretion “only when [her] discretion is based on an erroneous conclusion
of law or where the record contains no evidence on which [she] rationally could have based that
decision.” Premium Serv. Corp. v. Sperry & Hutchinson Co., 511 F.2d 225, 229 (9th Cir. 1975).

                3.     Application

A review of the Discovery Order and other materials submitted in connection with the Discovery
Objection shows that Judge Segal did not err. Instead, it shows that she properly considered Plaintiff’s
arguments in support of the challenged RFPs, and entered an order that is neither clearly erroneous
nor contrary to law.

With respect to RFPs 11, 13, and 15, Judge Segal reasonably determined that each was overbroad.
See Dkt. 88 at 26-27. These RFPs seek documents from a ten-year period that are “in any way related
to” a wide range of subject matters. With specific respect to RFP 13, Plaintiff has not demonstrated how
the identification of those LASD deputies who may have been disciplined or prosecuted is relevant to
his allegations in support of his Monell claims. RFPs 11, 13, 15 may well cover certain documents
whose production would be appropriate. However, the Discovery Order correctly concluded that there is
no requirement that a reviewing court rewrite discovery requests in order to make them comply with
Fed. R. Civ. P. 26 and 34. See, e.g., Kilby v. CVS Pharmacy, Inc., No. 09-cv-2051, 2017 WL 1424322,
at *4 n.3 (S.D. Cal. Apr. 19, 2017) (“Particularly when a party stands on an overly broad request and
does not make a reasonable attempt to narrow it or to explain the need for such a broad range of
documents and/or information, the Court will not rewrite a party’s discovery request to obtain the
optimum result for that party. That is counsel’s job.”) (internal citations and quotation marks omitted).

For these reasons, the Discovery Objection is DENIED with respect to RFPs 11, 13, and 15.

With respect to RFP 23, the Discovery Order determined that the information requested by Plaintiff as
to the financial conditions of the individual defendants was both overbroad, and unnecessary. That
determination was neither clearly erroneous nor contrary to law. Discovery of the financial conditions of
these parties is relevant to the issue of punitive damages only if a basis for such liability is found by the
fact-finder. See City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 270 (1981) (“evidence of a
tortfeasor’s wealth is traditionally admissible as a measure of the amount of punitive damages that
should be awarded”). However, whether such discovery should proceed requires a balancing of its
need and the privacy rights of the individuals whose financial information has been requested. See,
e.g., Vieste, LLC v. Hill Redwood Dev., No. 09-cv-4024, 2011 WL 855831, at *2 (N.D. Cal. Mar. 9,
2011).

The Discovery Order reflects an appropriate balancing of these competing interests. On that basis it
properly decided that discovery requests relevant to punitive damages were premature. See Dkt. 88 at
30-31. For these reasons, the Discovery Objection is DENIED as to RFP 23; provided, however, that
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this determination is without prejudice to Plaintiff’s ability to renew its request promptly if the fact-finder
concludes that there is a basis to award punitive damages. Because that finding would occur during the
trial, the individual Defendant shall gather the responsive information sufficiently far in advance of the
trial so that there would be no delay between an order directing its disclosure to Plaintiff, and
compliance with such an order.

IV.         Conclusion

For the reasons stated in this Order, the Motion is GRANTED as to the following: (i) all claims against
the Defendants in their official capacities; (ii) Claim 2 (Fourteenth Amendment); (iii) Claim 4
(conspiracy); (iv) all claims against McDonnell and Castellano; and (v) Claim 10 (Bane Act) against
Vander Horck. Dismissal of these claims is without prejudice, except as to the conspiracy claims
against the County, McDonnell, Castellano, and Vander Horck, which are dismissed with prejudice. The
Motion is DENIED as to all other claims. Any amended complaint shall be filed by June 27, 2018. The
relief sought through the Discovery Objection is DENIED.


IT IS SO ORDERED.




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